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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Jacob Wilson, on behalf of himself and all         :
others similarly situated,                         :
                                                   :
                                                   :
                       Plaintiff,
                                                   :
       v.
                                                   : CLASS ACTION COMPLAINT
                                                   :
American Express Company
                                                   :
                                                   :
                       Defendant.
                                                   :
                                                   :

       For his Class Action Complaint, Plaintiff, Jacob Wilson, by and through his undersigned

counsel, pleading on his own behalf and on behalf of all others similarly situated, states as

follows:

                                        INTRODUCTION

       1.       Plaintiff, Jacob Wilson (“Plaintiff”), brings this class action for damages resulting

from the illegal actions of American Express Company (“AMEX” or “Defendant”). Defendant

negligently, knowingly, and/or willfully placed automated and prerecorded calls to Plaintiff’s

cellular phone in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

(the “TCPA”).

       2.       AMEX is credit card company that is the “world’s largest card issuer by purchase

volume” and “provides millions of transactions daily as the premium network for high-spending

cardmembers” http://about.americanexpress.com/oc/whoweare/ (last visited Jan. 24, 2018).

       3.       As part of its collections operation, AMEX operates an aggressive contact

schedule which bombards unsuspecting consumers, with whom it has no relationship, with

robocalls and prerecorded messages.

       4.       Plaintiff is such a consumer. He is not an AMEX customer yet has been
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bombarded with autodialed and pre-recorded calls made without his consent and over his explicit

objection.

        5.        Plaintiff seeks relief for himself and all others similarly situated for AMEX’s

unlawful behavior.

                                    JURISDICTION AND VENUE

        6.       This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331.

Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740, 751-53 (2012).

        7.       Jurisdiction in this District is proper pursuant to 28 U.S.C. § 1332(d)(2), as

Plaintiff seeks up to $500 in damages for each violation of the TCPA, which when aggregated

among a proposed class numbering more than a thousand members, exceeds the $5,000,000.00

threshold for federal court jurisdiction. Plaintiff also alleges a national class which will result in

at least one class member residing in a different state.

        8.       The Court has personal jurisdiction over AMEX as AMEX’s principal place of

business is within this District.

        9.       Venue is proper in this District. Defendant regularly, and at all times relevant

herein, conducted business in this District.

                                               PARTIES

        10.      Plaintiff is, and at all times mentioned herein was, an adult individual residing in

Cana, Virginia.

        11.      AMEX is a New York corporation with its principal place of business located at

200 Vesey Street, New York, New York 10285.

        12.      Plaintiff has never had a business relationship with AMEX and never consented to

be contacted by AMEX on his cellular telephone.
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              THE TELEPHONE CONSUMER PROTECTION ACT OF 1991


        13.     The TCPA regulates, among other things, the use of automated telephone dialing

systems.

        14.     47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system (“ATDS”) as

equipment having the capacity –

                (A)   to store or produce telephone numbers to be called, using a
                random or sequential number generator; and

                (B)     to dial such numbers.

        15.     47 U.S.C. § 227(b)(1)(A)(iii) prohibits any call using an ATDS or an artificial or

prerecorded voice to a cellular phone without prior express consent by the person being called.

                      ALLEGATIONS APPLICABLE TO ALL COUNTS

        16.     Defendant has repeatedly placed calls using an ATDS and containing a prerecorded

and/or artificial voice to Plaintiff’s cellular telephone (336) XXX-8932.

        17.     Plaintiff’s number was and is assigned to a cellular telephone service as specified in

47 U.S.C. § 227(b)(1)(A)(iii).

        18.     AMEX calls Plaintiff from telephone numbers 866-884-0976, 801-945-9064 and

800-528-4800.

        19.     AMEX has inserted Plaintiff’s telephone number in an automated calling campaign

to further its efforts to contact “Jessica,” a person who Plaintiff does not have any relationship with

and does not know.

        20.     AMEX has bombarded the Plaintiff with multiple daily automated and prerecorded

message calls throughout January 2018 regarding “Jessica.”

        21.     On January 7, 2018, Plaintiff told AMEX that he is not “Jessica,” that Jessica

cannot be reached at his cellular telephone, and asked AMEX to stop calling him.
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           22.   Nevertheless, the calls to Plaintiff at the -8932 number have persisted and

continued.

           23.   At all times mentioned herein, AMEX called Plaintiff’s cellular telephone using

an “automatic telephone dialing system” (“autodialer”) as defined by 47 U.S.C. § 227(a)(1).

When Plaintiff answered calls from AMEX, he heard a prerecorded greeting from AMEX before

the call would be routed to a live agent. This is indicative of AMEX’s use of a “predictive

dialer.”

           24.   The Federal Communications Commission has defined ATDS under the TCPA to

include “predictive dialers.” See In the Matter of Rules and Regulations Implementing the

Telephone Consumer Protection Act of 1991, 23 F.C.C.R. 559, at ¶ 12, 2008 WL 65485 (F.C.C.)

(2008).

           25.   In addition, upon information and belief the hardware and software combination

utilized by AMEX has the capacity to store and dial sequentially generated numbers, randomly

generated numbers or numbers from a database of numbers.

           26.   Defendant uses prerecorded and artificial messages when it calls the Plaintiff’s

cellular telephone. As noted, when Plaintiff answers AMEX’s calls, he heard an artificial and/or

prerecorded voice stating the call was from AMEX and the call may be recorded.

           27.   The same message has been used by the Defendant on multiple occasions.

           28.   Defendant did not have Plaintiff’s prior express consent to place automated calls to

Plaintiff on her cellular telephone.

           29.   Defendant did not have Plaintiff’s prior express consent to call Plaintiff using an

artificial or prerecorded voice.
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                                CLASS ACTION ALLEGATIONS

A. The Class

        30.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf

of herself and all others similarly situated.

        31.     Plaintiff represents, and is a member of the following two classes:

        Class A

        All persons within the United States to whom AMEX or its agent/s and/or
        employee/s called said person’s cellular telephone through the use of any
        automatic telephone dialing system within the four years prior to the filing of
        the Complaint where such person was not a customer of AMEX.

        Class B

        All persons within the United States to whom AMEX or its agent/s and/or
        employee/s called said person’s cellular telephone with an artificial or
        prerecorded voice within the four years prior to the filing of the Complaint
        where such person was not a customer of AMEX.

        32.     Defendant and its employees or agents are excluded from the Classes. Plaintiff

does not know the number of members in the Classes, but believes the class members number in

the several thousands, if not more. Thus, this matter should be certified as a class action to assist

in the expeditious litigation of this matter.

B. Numerosity

        33.     Upon information and belief, Defendant has placed automated and/or prerecorded

message calls to cellular telephone numbers belonging to thousands of consumers, after being

informed it was calling the wrong party, throughout the United States. The members of the

Classes, therefore, are believed to be so numerous that joinder of all members is impracticable.

        34.     The exact number and identities of the Class members are unknown at this time

and can only be ascertained through discovery. Identification of the class members is a matter
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capable of ministerial determination from Defendant’s call records.

C. Common Questions of Law and Fact

       35.      There are questions of law and fact common to the Classes that predominate over

any questions affecting only individual Class members. These questions include:

                a. Whether Defendant made calls to Plaintiff and Class members’ cellular

                   telephones using an ATDS;

                b. Whether Defendant made calls to Plaintiff and Class members’ cellular

                   telephones using an artificial or prerecorded voice;

                c. Whether Defendant can meet its burden of showing it obtained prior express

                   consent to make each call;

                d. Whether Defendant’s conduct was knowing willful, and/or negligent;

                e. Whether Defendant is liable for damages, and the amount of such damages;

                   and

                f. Whether Defendant should be enjoined from such conduct in the future.

       36.      The common questions in this case are capable of having common answers. If

Plaintiff’s claim that Defendant routinely places automated and prerecorded calls to telephone

numbers assigned to cellular telephone services is accurate, Plaintiff and the Class members will

have identical claims capable of being efficiently adjudicated and administered in this case.

D. Typicality

       37.      Plaintiff’s claims are typical of the claims of the Class members, as they are all

based on the same factual and legal theories.

E. Protecting the Interests of the Class Members

       38.      Plaintiff will fairly and adequately protect the interests of the Classes and has
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retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither Plaintiff nor his counsel has any interests which might cause them not to

vigorously pursue this action.

F. Proceeding Via Class Action is Superior and Advisable

       39.     A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of Class members in individually controlling the prosecutions of

separate claims against AMEX is small because it is not economically feasible for Class

members to bring individual actions.

       40.     Management of this class action is unlikely to present any difficulties. Several

courts have certified classes in TCPA actions. These cases include, but are not limited to:

Mitchem v. Ill. Collection Serv., 271 F.R.D. 617 (N.D. Ill. 2011); Sadowski v. Med1 Online, LLC,

2008 WL 2224892 (N.D. Ill., May 27, 2008); CE Design Ltd. V. Cy’s Crabhouse North, Inc.,

259 F.R.D. 135 (N.D. Ill. 2009); Lo v. Oxnard European Motors, LLC, 2012 WL 1932283 (S.D.

Cal., May 29, 2012).

                                           COUNT I
               Negligent Violations of the Telephone Consumer Protection Act,
                                    47 U.S.C. § 227, et seq.

       41.     Plaintiff repeats and realleges the above paragraphs of this Complaint and

incorporates them herein by reference.

       42.     Defendant negligently placed multiple automated and prerecorded/artificial voice

calls to cellular numbers belonging to Plaintiff and the other members of the Classes without

their prior express consent.

       43.     Each of the aforementioned calls by Defendant constitutes a negligent violation of

the TCPA.

       44.     Plaintiff and the Classes are entitled to an award of $500.00 in statutory damages
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for each call placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       45.     Additionally, Plaintiff and the Classes are entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

       46.     Plaintiff and the Class are also entitled to and do seek a declaration that:

               a. Defendant violated the TCPA;

               b. Defendant utilized an ATDS to call Plaintiff and the Classes;

               c. Defendant placed artificial and prerecorded voice calls to Plaintiff and the

                   Classes;

               d. Defendant placed automated and artificial and prerecorded voice calls to the

                   Plaintiff and the Classes without prior express consent.

                                       COUNT II
       Knowing and/or Willful Violations of the Telephone Consumer Protection Act,
                                 47 U.S.C. § 227, et seq.

       47.     Plaintiff repeats and realleges the above paragraphs of this Complaint and

incorporates them herein by reference.

       48.     Defendant knowingly and/or willfully placed multiple automated and

prerecorded/artificial voice calls to cellular numbers belonging to Plaintiff and the other

members of the Classes without their prior express consent.

       49.     Each of the aforementioned calls by Defendant constitutes a knowing and/or

willful violation of the TCPA.

       50.     As a result of Defendant’s knowing and/or willful violations of the TCPA,

Plaintiff and the Class are entitled to an award of treble damages up to $1,500.00 for each call in

violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

       51.     Additionally, Plaintiff and the Classes are entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.
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       52.       Plaintiff and the Classes are also entitled to and do seek a declaration that:

                a. Defendant knowingly and/or willfully violated the TCPA;

                b. Defendant knowingly and/or willfully used an ATDS to call Plaintiff and the

                    Classes;

                c. Defendant knowingly and/or willfully placed artificial and prerecorded voice

                    calls to Plaintiff and the Classes;

                d. Defendant willfully placed artificial and prerecorded voice calls to non-

                    customers such as Plaintiff and the Classes, knowing it did not have prior

                    express consent to do so; and

                e. It    is    Defendant’s   practice     and   history   to   place   automated   and

                    artificial/prerecorded voice calls to non-customers without their prior express

                    consent.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court grant Plaintiff and the Classes the following

relief against Defendant:

             1. Injunctive relief prohibiting such violations of the TCPA by Defendant in the future;

             2. Declaratory relief as requested;

             3. Statutory damages of $500.00 for each and every call in violation of the TCPA

                pursuant to 47 U.S.C. § 227(b)(3)(B);

             4. Treble damages of up to $1,500.00 for each and every call in violation of the TCPA

                pursuant to 47 U.S.C. § 227(b)(3)(C);

             5. An award of attorneys’ fees and costs to counsel for Plaintiff; and

             6. Such other relief as the Court deems just and proper.

                        TRIAL BY JURY DEMANDED ON ALL COUNTS
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Dated: January 25, 2018

                                    Respectfully submitted,
                                    By /s/ Sergei Lemberg
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